              Entered on Docket November 2, 2020

                                                        Below is the Order of the Court.


 1                                                      _____________________
                                                        Mary Jo Heston
 2                                                      U.S. Bankruptcy Judge
 3                                                     (Dated as of Entered on Docket date above)


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10                        UNITED STATES BANKRUTPCY COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON - TACOMA
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     In re:                                             Adversary Case No. 20-04012-MJH
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     ANGELA YUN DELGADO,                                BK Case No. 19-43978-MJH
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14                            Debtor.                   Chapter 7

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                                                        ORDER GRANTING PLAINTIFF’S
16                                                      MOTION TO VOLUNTARILY DISMISS
                                                        ADVERSARY PROCEEDING WITHOUT
17                                                      PREJUDICE
18
     ANGELA YUN DELGADO,
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                              Plaintiff,
20
     v.
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22   U.S. DEPARTMENT OF EDUCATION, et. al.,

23                            Defendants.
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               THIS MATTER having come before the Court upon the filing of the Plaintiffs’ Motion to
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     Voluntarily Dismiss Adversary Proceeding Without Prejudice, all parties having been given
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          ORDER GRANTING PLAINTIFF’S MOTION TO                                    HENRY & DEGRAAFF, P.S.
          VOLUNTARILY DISMISS ADVERSARY                                              787 MAYNARD AVE S
                                                                                      SEATTLE, WA 98104
          PROCEEDING WITHOUT PREJUDICE - 1                                         telephone (206) 330-0595
                                                                                      fax 1 (206) 400-7609
     Case
      Case20-04012-MJH
           20-04012-MJH Doc
                         Doc38-3
                             42 Filed
                                 Filed11/02/20
                                       10/04/20 Ent.
                                                 Ent.11/02/20
                                                      10/04/2013:20:50
                                                               18:43:02 Pg.
                                                                         Pg.11ofof22
 1   notice and opportunity to respond, and the Court having reviewed and given due consideration to

 2   all of the pleadings, filings, and documents of record in this matter, it is hereby:

 3          ORDERED that Plaintiff Angela Yun Delgado fka Angela Yun Motts’s Motion to

 4   Voluntarily Dismiss Adversary Proceeding without Prejudice is GRANTED.

 5                                          / / END OF ORDER / /
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     Presented by:
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 8   /s/ Christina L Henry__________________
     Christina Latta Henry, WSBA #31273
 9   Henry & DeGraaff, PS
     787 Maynard Ave S
10   Seattle, WA 98104
     Tel# 206-330-0595 / Fax# +1-206-400-7609
11   chenry@hdm-legal.com
12   Attorney for Angela Yun Delgado fka Angela Yun Motts

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       (Proposed) ORDER GRANTING PLAINTIFF’S MOTION                                HENRY & DEGRAAFF, P.S.
       TO VOLUNTARILY DISMISS ADVERSARY                                               787 MAYNARD AVE S
                                                                                       SEATTLE, WA 98104
       PROCEEDING WITHOUT PREJUDICE - 2                                             telephone (206) 330-0595
                                                                                       fax 1 (206) 400-7609
     Case
      Case20-04012-MJH
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                                       10/04/20 Ent.
                                                 Ent.11/02/20
                                                      10/04/2013:20:50
                                                               18:43:02 Pg.
                                                                         Pg.22ofof22
